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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

    TIMOTHY KING, et al.,
    Plaintiffs,

    v.
                                                   Case No. 20-cv-13134
    GRETCHEN WHITMER, in her                       Hon. Linda V. Parker
    official capacity as Governor of the
    State of Michigan,
    Defendants,

    and

    ROBERT DAVIS, et al.,
    Intervenor Defendant.


   NOTICE OF FILING ERROR FOR PLAINTIFFS’ MOTION FOR
 VOLUNTARY DISMISSAL AS TO INTERVENOR-DEFENDANT DAVIS
   PUSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(2)

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   NOTICE OF FILING ERROR FOR PLAINTIFFS’ MOTION FOR
 VOLUNTARY DISMISSAL AS TO INTERVENOR-DEFENDANT DAVIS
   PUSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(2)

      On January 17, 2021, Plaintiffs Timothy King, Marian Ellen Sheridan, John

Earl Haggard, Charles James Ritchard, James David Hooper, and Daren Wade

Rubingh, by and through counsel, filed a Motion for Voluntary Dismissal as to

Intervenor-Defendant Davis Pursuant to Federal Rule of Civil Procedure 41(a)(2).

      On January 17, 2021, counsel incorrectly selected the Notice of Voluntary

Dismissal link when filing the Motion for Voluntary Dismissal. Counsel seeks to

correct the docket entry to properly reflect the Motion for Voluntary Dismissal.



                                      Respectfully submitted,

                                      _/s/_Stefanie Lynn Junttila_____________
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                        CERTIFICATE OF SERVICE

      I hereby certify that on January 21, 2021, a true and genuine copy of the

foregoing was served via electronic mail by the Court’s CM/ECF system to all

counsel of record.


                               _/s/_Stefanie Lynn Junttila_____________
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